UNITED STATES DISTRICT COURT FOR
THE DISTRICT OF NEW HAMPSHIRE

COALITION FOR OPEN DEMOCRACY,
etal.,

Plaintiffs,
Vv. Case No. 1:24-cv-003 12-SE-TSM

DAVID M. SCANLAN, in his official capacity
as New Hampshire Secretary of State, ef al.,

Defendants.

AFFIDAVIT OF PATRICIA PIECUCH

I, Patricia Piecuch, being duly sworn on oath or affirmation, depose and state as follows:
Introduction

1. I am at least 18 years of age and I am competent to testify on the matters set forth
herein. I have personal knowledge of the following facts, and if called as a witness, I can and
will competently testify thereto.

2. I am not a party to this lawsuit, though I am employed by the Secretary of State,
who is a defendant in this lawsuit in his official capacity.

3. I am the Elections Director in the New Hampshire Department of State. I have
been employed in this position since September 30, 2019.

4, As the Election Director I manage the Elections Division, including, but not
limited to the development and implementation of the new enhanced Statewide Voter
Registration System (SVRS). The staff of the Division, IT staff, and I monitor daily and other
periodic reports on activity within the SVRS for evidence of intrusion or misuse. I routinely
present training to local election officials at regional, statewide, and on-line training meetings

and oversee staff who prepare and present training for local election officials on both the conduct
of voter registration and elections and the proper use of the SVRS. I manage the Elections
Division help desk that responds to phone calls and emails from local election officials and the
public regarding voter registration, the conduct of elections, and use of the SVRS.

5. I submit this affidavit in support of Defendants’ Amended Objection to Plaintiffs’
Motion to Compel the Statewide Voter Database & Related Documents (ECF No. 60)
(“Defendants’ Amended Objection”).

Statewide Voter Registration System

6. New Hampshire’s Statewide Voter Registration (“‘SVRS”) is a database and
communications system accessed by local election officials throughout the state. Local election
officials, supervisors of the checklist and clerks, enter and update the data in SVRS. Each can
access the data on the voters in their own town or city and cannot run reports related to
jurisdictions outside their own. They have access to data on voters registered in other towns or
cities only when managing the transfer of a voter’s registration from one town/city to another
town/city. RSA 654:45, III (2)(c).

7. New Hampshire’s SVRS is required by federal law. Federal law mandates that
state officials guarantee the integrity of the system and the confidentiality of the data maintained
in the database.

8. Defendants’ Amended Objection accurately states the SVRS’ purpose, usage, and
function. It also accurately states the general nature of SVRS data as a repository of confidential

personal information of registered voters.

I hereby declare under the penalty of perjury that the foregoing testimony supporting
Defendants’ Amended Objection to Plaintiffs’ Motion to Compel the Statewide Voter Database

& Related Documents (ECF No. 60) in the case of Coalition for Open Democracy, et al. v.
Case 1:24-cv-00312-SE-TSM Document 70-2 Filed 04/28/25 Page3of3

Scanlan, et al., Docket No. 1:24-cv-312-SE-TSM, is true and accurate to the best of my

knowledge and belief.

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Patricia Piecuch
Elections Director
N.H. Department of State

THE STATE OF NEW HAMPSHIRE

COUNTY OF M erciMack

Personally appeared before me, Patricia Piecuch, and acknowledged the foregoing to
be true and accurate to the best of his knowledge and belief.

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